  Case 1:17-mc-00160-GMS Document 5 Filed 06/11/18 Page 1 of 1 PageID #: 164



                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELA WARE

In re: FAH LIQUIDATING CORP. (f/k/a FISKER)             Chapter 11
AUTOMOTIVE HOLDINGS, INC.), et al.,                 )   Bank. No . 13-1 3087 (KG)
                                                    )   Jointly Administered
                       Debtors.                     )
                                                    )
EMERALD CAPITAL ADVISORS CORP., in its )
capacity as Trustee for the F AH Liquidating Trust, )
                                                    )
                       Plaintiff,                   )   Adv. No . 15-51898 (KG)
       V.                                           )
                                                    )   Misc. No. 17-160 (GMS)
BA YERISCHE MOTOREN WERKE                           )
AKTIENGESELLSCHAFT,                                 )
                                                    )
                       Defendant.                   )
___________ )
                                             ORDER
                               4~
       At Wilmington, this   jJ_ day of June, 2018, consistent with the Memorandum issued this

same date, IT IS HEREBY ORDERED THAT:

       1.     The Motion for Leave (D.I. 1) is DENIED.

       2.     The Clerk of Court is directed to CLOSE Misc. No. 17-160 (G




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